






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00288-CV






In re DTG Operations, Inc.







ORIGINAL PROCEEDING FROM TRAVIS COUNTY





M E M O R A N D U M   O P I N I O N


	Relator has filed a motion for emergency relief and a petition for writ of mandamus. 
See Tex. R. App. P. 52.8, 52.10.  We deny the petition for writ of mandamus and overrule the motion
for emergency relief.


					                                                                                     

					David Puryear, Justice

Before Justices Puryear, Pemberton and Waldrop

Filed:   May 15, 2007


